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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



IN RE: JOHNSON & JOHNSON TALCUM                      DOCKET # 3:16-md-2738 (FLW) (LHG)
POWDER PRODUCTS MARKETING,
SALES PRACTICES AND PRODUCTS
LIABILITY LITIGATION
                                                     JUDGE FREDA L. WOLFSON
THIS DOCUMENT RELATES TO:
ALL CASES                                            MAG. JUDGE LOIS H. GOODMAN



        APPLICATION FOR APPOINTMENT OF RICAHRD L. ROOT TO THE
               MDL-2738 PLAINTIFFS’ STEERING COMMITTEE

       Richard L. Root, pursuant to the Court’s direction in the initial Status Conference on

November 17, 2016, respectfully submits this application for consideration by this Honorable

Court for appointment to the Plaintiffs’ Steering Committee in the above captioned matter.

       A.      WILLINGNESS AND AVAILABILITY TO COMMIT
               TO A TIME-CONSUMING PROJECT

       Undersigned counsel is fully and unequivocally committed to this case. I am lead counsel

for the Morris Bart firm’s Johnson & Johnson talcum powder cases transferred to MDL-2738.

We currently represent 388 former users of Johnson & Johnson talcum powder products in this

litigation. As of the filing of this application, we have twelve (12) suits pending in this MDL (See

Exhibit A, attached.)

       The Morris Bart law firm has 14 offices throughout four states - Louisiana, Mississippi,

Alabama and Arkansas. Because of the firm’s commitment to the Johnson & Johnson Talcum

Powder litigation, we have hired additional in-house staff, including lawyers and paralegals to

work exclusively on these cases. The ability to access the firm’s considerable resources means



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that the undersigned will be able to delegate non-MDL-2738 practice matters to other counsel

within the firm should the need arise, guaranteeing that the applicant will be able to commit to

PSC duties no matter how time-consuming they may be.

        Undersigned practices out of the firm’s New Orleans office, which consists of 63,000

square feet of offices and a dozen conference rooms. There is no question that service on the PSC

will be extremely time-consuming, requiring a constant availability to be personally present for

MDL proceedings before this Court. The undersigned does not currently serve on any other PSC,

nor are any other attorneys at Morris Bart currently serving on a PSC.

       B.      ABILITY TO WORK COOPERATIVELY WITH OTHERS

       The Applicant is committed to working cooperatively with all counsel in this case. I have

worked productively with attorneys throughout the United States on pharmaceutical and defective

products cases over the years, beginning in 1992 with the MDL 926 breast implant litigation and

have developed the professional relationships that will be necessary to effectively and efficiently

conduct and coordinate discovery, motion practice and trial in this matter.

       The Applicant personally attended and participated in the initial status conference before

your Honor, and prior to the conference conveyed my willingness to serve on the PSC to Ms.

O’Dell, the proposed Co-Lead Counsel.        Undersigned Applicant and his firm are personally

familiar with, and have worked successfully in the past with many of the attorneys and firms

seeking liaison and PSC appointments in this litigation.

       C.      PROFESSIONAL EXPERIENCE IN THIS TYPE OF LITIGATION

       The Applicant has over 25 years of experience litigating complex cases in federal and

state courts, including products liability litigation against major multinational companies,

Civil Rico litigation against global banking entities, and Civil Rights litigation against a



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variety of corporations and law enforcement agencies. I have developed an appreciation for

the importance of planning, organization and cooperation in complex litigation.

       The Applicant and Morris Bart LLC currently represent hundreds of plaintiffs in a

number of Multi-District litigation actions throughout the country, including Xarelto,

Testosterone, Talcum Powder, Chinese Dry Wall, Plavix, Transvaginal Mesh, Yaz, Actose

and Januvia, among others. Applicant represented more than 450 clients in federal court in

their claims against the manufacturers of silicone breast implants in individual federal court

filings in MDL 926, and represented thousands of client victims in state court in the

Spitzfaden v. Dow Chemical Company class action, CDC 92-2589.

       Applicant served on several committees in the Louisiana state court class action,

conducted discovery, helped select our bellwether plaintiffs, and participated in numerous

focus groups and participated on the trial team in the only class action trial in the country to

hold Dow Chemical Company liable for its role in the manufacture and sale of defective

implants. Although most of Applicants clients in the federal MDL litigation settled with the

manufacturers of their implants, Applicant did opt out a number of them for trials federal

courts in Louisiana, Alabama and Florida in order to obtain the maximum recovery for those

clients. As such, Applicant is familiar with the value of common benefit discovery taken by

any PSC, and understands what common benefit work aids trial practitioners.

       Undersigned Applicant has familiarized himself with the Manual for Complex Litigation –

Fourth and understands this Court will proceed in accordance with the provisions and principles

contained therein.




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       D.      WILLINGNESS TO COMMIT NECESSARY
               RESOURCES TO PURSUE THIS MATTER

       Morris Bart, LLC, has the financial and human resources to assist in conducting

discovery, retaining experts, selecting and trying bellwether cases, and stands willing to take all

necessary steps to bring this litigation to a successful conclusion.

       Resources Brought To the PSC by the Firm

       Morris Bart, LLC employs approximately one hundred (100) attorneys, and a concomitant

number of secretarial, paralegal/research, administrative and accounting support staff.     Morris

Bart, LLC, self-funds its mass torts practice, providing the Applicant the financial resources to

participate in the MDL litigation for as long as is necessary. The Applicant’s ability to devote

one hundred present of his efforts to the appointment will not be influenced in any way by either

the amount of financial resources required to participate as a PSC member, or by the duration of

the appointment until a successful recovery or settlement.

       Resources Brought To PSC by the Applicant

       Applicant has also successfully represented numerous plaintiffs in a variety of federal

civil rights actions, and defended those jury verdicts upon appeal with success. In one matter,

after completion of the jury trial, Applicant worked with the FBI and the US Attorney’s office

in securing a perjury conviction based upon Applicant’s direct examination of the police

officer who was responsible for the death of his client’s husband.

       Prior to joining Morris Bar, LLC, the Applicant was a longtime partner in a small

plaintiff firm practice. Applicant has also managed the litigation department of a mid-sized

plaintiff firm. Applicant suggests that this diversity of experience will be of value to the PSC

in its work.     Applicant is a graduate of the University of Florida, and Loyola University,

New Orleans, School of Law.

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       In sum, the Applicant understands the enormous commitment required of PSC members,

and is willing and available to commit to long-range, time-consuming litigation.         He is also

cognizant of the Court’s expectations regarding the high standard of professionalism and

congeniality required of counsel serving on the Plaintiffs’ Steering Committee.

       For the foregoing reasons, Richard L. Root respectfully requests that he be appointed to

serve on the Plaintiffs’ Steering Committee.

                                                       Respectfully submitted,

                                                       MORRIS BART, LLC

                                               By:     /s/ Richard L. Root
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2016, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

CM/ECF participants registered to receive services in this MDL.

                                               By:     /s/ Richard L. Root




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                                          Attachment A

                Plaintiffs Represented by Morris Bart, LLC / 3:16-md-02738

Tetlow et al v. Johnson & Johnson et al                  2:16-cv-15458

Lee v. Johnson & Johnson et al                           2:16-cv-16009

Meyer v. Johnson & Johnson et al                         2:16-cv-16006

Walker v. Johnson & Johnson et al                        2:16-cv-16-004

Engle v. Johnson & Johnson et al                         5:16-cv-01530

Gary v. Johnson & Johnson et al                          2:16-cv-15988

Daniels v. Johnson & Johnson et al                       2:16-cv-15963

Bier v. Johnson & Johnson et al                          2:16-cv-15961

Jolla v. Johnson & Johnson et al                         2:16-cv-15965

Diamonds v. Johnson & Johnson et al                      5:16-cv-01529

Alfred et v. Johnson & Johnson et al                     2:16-cv-01528

Harris v. Johnson & Johnson et al                        5:16-cv-01510




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